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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JOHN REAM                                             )
                                                      )
        Plaintiff,                                    )
                                                      )
v.                                                    )
                                                      )       Case No. 2:24-cv-364-EAS-CMV
JANET YELLEN, in her official capacity as             )
U.S. Secretary of the Treasury, et al.,               )
                                                      )
        Defendants.                                   )


     DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE

     Pursuant to the Federal Rules of Civil Procedure and Local Rule 7.3, Defendants hereby

move to extend their upcoming deadline in this matter by one business day. In support thereof,

Defendants state as follows:

     1. Defendants recounted the relevant procedural history of this matter in an earlier filing,

        see ECF No. 23.

     2. In that motion, the parties proposed that Defendants would file a combined reply in

        support of their motion to dismiss and opposition to Plaintiff’s motion for summary

        judgment, and that this filing would be due August 9, 2024. The Court ordered this

        briefing schedule, see Notion Order, ECF No. 24.

     3. Defendants have been working diligently on this combined filing. However, the press of

        business and personal matters, including illness, have interfered at a late date.

     4. Defendants request that they be permitted a brief extension, until August 12, 2024, to file

        their combined reply in support of their motion to dismiss and opposition to Plaintiff’s

        motion for summary judgment.
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   5. No party will be prejudiced by this extension. The case was filed not long ago, and no

       other deadlines are pending.

   6. The parties have conferred and Plaintiff does not oppose this motion.

Dated: August 6, 2024                        Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             DIANE KELLEHER
                                             Assistant Director
                                             Federal Programs Branch

                                             /s/ Elizabeth Tulis
                                             ELIZABETH TULIS
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                                             Counsel for the Defendants




                                CERTIFICATE OF SERVICE

     I certify that this motion was electronically filed with the Clerk of Court, using the
CM/ECF system, on August 6, 2024, thereby serving all counsel of record.

                                             /s/ Elizabeth Tulis
                                             ELIZABETH TULIS
                                             Counsel for the Defendants
